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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION


JEFFREY NUZIARD, et al.,

            Plaintiffs,

      v.                                              Case No. 4:23-cv-00278-P

MINORITY BUSINESS
DEVELOPMENT AGENCY, et al.,

            Defendants.
______________________________________________________________________________

              PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF THEIR
                     MOTION FOR SUMMARY JUDGMENT
______________________________________________________________________________
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                                     ARGUMENT IN REPLY

I.       This Court already determined that Plaintiffs have standing.

         Defendants’ standing arguments largely ignore this Court’s prior consideration of, and

ruling on, the issue. So long as one of the three plaintiffs has standing, the Court will consider the

merits. ECF 27:4, 8; Texas v. United States, 809 F.3d 134, 151 (5th Cir. 2015) (citation omitted).

At the preliminary injunction stage, this Court rejected many of the same precedents Defendants

raise again here. See ECF 27:4-8. Defendants’ arguments that Plaintiffs are relying solely on “bare”

allegations from their complaint, or that the information provided by Plaintiffs in depositions or

declarations should not be considered, are improper and should not alter this Court’s prior, correct

ruling that Plaintiffs have standing.

         Defendants apparently take the position that if Plaintiffs did not rattle off every detail of

their businesses and future plans in their Verified Complaint, they are restricted to only those

allegations. See ECF 46:30–35. This is a fundamental misunderstanding of black letter law.

Pleadings are “a short and plain statement” of the claim, while summary judgment is the “put up

or shut up” stage of litigation following discovery. Fed. R. Civ. P. 8(a), 56; cf. Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 556 (2007) (Fed. R. Civ. P. 8 “does not impose a probability

requirement . . . it simply calls for enough fact to raise a reasonable expectation” of recovery);

Ayuthaya ex rel. Ayuthaya v. Dansby, No. 1:06-cv-053-C ECF, 2006 WL 8436677 at *5 n. 1 (N.D.

Tex. Aug. 16, 2006) (summary judgment is the “‘put up or shut up’” phase) (citation omitted).

         Defendants seem to argue that Plaintiffs cannot rely only on the Verified Complaint while

simultaneously arguing (incorrectly) that Plaintiffs are attempting to “manufacture” standing after

the fact because they provide further evidence of their harms and continued injuries following the

date of their complaint. See, e.g., ECF 46:20–21, 30–35. Defendants are wrong on both counts. All

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three plaintiffs verified the complaint under penalty of perjury; the complaint is therefore

competent summary judgment evidence, and the case law preventing a plaintiff from resting solely

on the pleadings is inapposite. King v. Dogan, 31 F.3d 344, 346 (5th Cir. 1994) (citations omitted).

       Further, Plaintiffs have not attempted to retroactively confer standing. This Court already

determined that Plaintiffs have standing to sue. All three Plaintiffs presented evidence that they

were able and ready to apply for MBDA assistance; that they were denied that opportunity on the

basis of race; and that, as a result, they suffered a denial of equal treatment and stigmatic injury.

“When the government erects a barrier that makes it more difficult for members of one group to

obtain a benefit than it is for members of another group,” the injury establishing standing is “the

denial of equal treatment resulting from the imposition of the barrier, not the ultimate inability to

obtain the benefit.” N.E. Fla. Ch. of the Assoc. Gen. Contractors of Am. v. City of Jacksonville,

Fla., 508 U.S. 656, 666 (1993). In addition, “[t]he badge of inequality and stigmatization conferred

by racial discrimination is a cognizable harm in and of itself providing grounds for standing.”

Moore v. U.S. Dep’t of Agric. on Behalf of Farmers Home Admin., 993 F.2d 1222, 1224 (5th Cir.

1993) (citing cases); e.g., Heckler v. Mathews, 465 U.S. 728, 739–40 (1984) (recognizing the

Court’s “repeated[] emphasi[s]” on the stigmatiz[ation] caused by racial discrimination as “serious

non-economic injur[y]”); Students for Fair Admissions, Inc. v. President & Fellows of Harvard

Coll., 143 S. Ct. 2141, 2170 (2023) (race discrimination “demeans the dignity and worth of a

person”).

       In the context of a benefit, a plaintiff must show he was “‘able and ready’ to apply” “in the

reasonably foreseeable future” “and that a discriminatory policy prevents [him] from doing so on

an equal basis.” Carney v. Adams, 141 S. Ct. 493, 500 (2020); Ne. Fla. Chapter of Associated Gen.

Contractors of Am., 508 U.S. at 666. This showing, in which a plaintiff “would have” sought a

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benefit but for the discriminatory barrier, is sufficient to confer standing; a “futile gesture” of

submitting to a challenged policy is not required. Gratz v. Bollinger, 539 U.S. 244, 261–62 (2003)

(collecting cases); Int’l Bhd. of Teamsters v. United States, 431 U.S. 324, 365–66 (1977).

       A.      Plaintiffs have established an injury in fact from the denial of equal treatment
               and racial stigmatization.

       Pursuant to 15 U.S.C. §§ 9501–9598 (the “MBDA Statute”), the MBDA administers

nationwide and broad-scale business assistance, programs, and services (the “Program” or

“Programming”) on the basis of race. See, e.g., 15 U.S.C. §§ 9501(9), (15), 9522, 9523, 9524(a),

9551(3), 9552(b)–(c), 9511, 9512.

       Plaintiffs have each suffered an injury in fact because each is “able and ready” to apply to

the Program but for the MBDA’s racially discriminatory policy. Each Plaintiff owns and operates

a small business and is “ready” to apply to the Program out of a personal desire for at least certain

advertised MBDA Program services. Plaintiff Piper’s desire for “access to contracts, access to

capital, training, and other services helpful for sustaining and growing [his architectural] business”

derives from his simple recognition that he is approaching retirement, and given his family’s

special needs considerations along with a downturn in work following the pandemic, he would

like to take advantage of business growth opportunities that present. ECF 39:13 ¶¶ 12–16; 47:26–

27. Likewise, both Plaintiffs Nuziard and Bruckner have sought business assistance and

opportunities in response to current goals and past and ongoing business challenges they face. ECF

39:2 ¶¶ 2–19, 25–26; ECF 39:21 ¶¶ 7–21. Having opened offices in two locations for his business

in the last few years, Nuziard has further expansion plans pending and sought MBDA’s “grant

opportunities, financial sourcing assistance, strategic business consulting, and other [] resources

helpful to maintaining and growing a business.” ECF 39:3 ¶ 13–19. Similarly, Bruckner sought


                                                  3
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“contracting opportunities, business development services, training, and other free and low-cost

services” for his public contracting business. ECF 39:23 ¶ 21.

       Each Plaintiff sought the Programming through MBDA’s various websites, and both

Bruckner and Nuziard took further steps contacting MBDA offices. Unfortunately, each Plaintiff

observed MBDA’s website listing of specified races that the agency serves in administering its

Programming and learned that the MBDA did not consider them eligible due to this race-based

eligibility requirement. After Piper found that the Program’s race-based criterion rendered him

ineligible at any MBDA office, including the Wisconsin MBDA (at the time, slated to open in the

foreseeable future), the nearby Illinois MBDA serving Wisconsin, and the Minnesota MBDA, he

became discouraged from seeking further application or inquiry. ECF 39:15 ¶¶ 23–35. Bruckner’s

email to the Orlando MBDA regarding the required “Ethnicity” question on the client intake form

was returned with a response confirming that the office could not help because he is white. ECF

39:23 ¶¶ 22–33. Nuziard experienced the same race-based rejections in accessing the Dallas Fort

Worth MBDA’s website and form and when phoning and visiting the office in person, with each

encounter confirming that the office could not help “because [he] wasn’t a minority.” ECF 47:5–

9; ECF 39:4 ¶¶ 20–24; ECF 1 ¶ 34. Consistent with the Court’s previous finding, these showings

again confirm that Plaintiffs are “ready” to apply to the Program and “would have” proceeded but

for the MBDA’s racial eligibility requirement. See ECF 27:6; e.g., Gratz, 539 U.S. at 261–62.

       Each Plaintiff is also “able” to apply to Program for multiple independently sufficient

reasons. First, all Plaintiffs are “able” to apply because regardless of any particular MBDA office,

the Programming is provided pursuant to the MBDA Statute, which does not contain other race-

neutral criteria and imposes only a race-based eligibility requirement that forecloses Programming

availability to business owners on an equal basis. It is Defendants’ race-based rejection that is at

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issue and which Plaintiffs challenge; not the actions of any individual MBDA offices to sometimes

impose additional non-statutory criteria. Thus, Plaintiffs would be eligible for Programming under

the MBDA Statute, if there were no such race-based requirement. Second, although some MBDA

offices impose additional, non-statutory criteria, each Plaintiff is “able” to apply because

regardless of any particular MBDA office, the Programming is available through a number of

MBDA offices that do not indicate any further criteria beyond the MBDA’s racial criterion. Thus,

if there were no such requirement, Piper would have been eligible for the Program at the time he

sought assistance from the Illinois and Minnesota MBDA offices, which do not indicate inflexible

criteria and simply “serve[/s] all MBEs.” ECF 39:15 ¶¶ 23–35; ECF 42:46; ECF 44:32–33. Third,

as Plaintiffs explained in their response brief to Defendants’ motion for summary judgment,

Nuziard and Bruckner are “able” to apply because they met all the race-neutral requirements of

the Dallas Fort Worth and Orlando MBDA offices, respectively, at the time they sought assistance;

and they would have continued with the application process they attempted to start via their contact

inquires, but for the MBDA’s explicit noticing of its exclusive racial eligibility requirement. 1 See

ECF 44:15–16 (discussing Nuziard’s satisfaction of the Dallas Fort Worth MBDA’s non-statutory

criteria, including durational, industry, and revenue requirements); ECF 44:21–22 (discussing

Bruckner’s satisfaction of the Orlando MBDA’s durational requirement). Accordingly, consistent

with the Court’s prior finding of standing, these demonstrations show that Plaintiffs were “able

and ready” to apply to the Program at the time they sought assistance through MBDA’s websites

and made follow-up inquiries (as was the case for Nuziard and Bruckner).



    1
      Defendants cite several times to Bruckner’s prior case out of Florida challenging his rejection on race
grounds from another federal government program. But as Plaintiffs have thoroughly explained, the defect
in that case is specific to a factual context that is incomparable to the case at bar. See ECF 44:23 n. 8.

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        In addition, Plaintiffs would be eligible for Programming at other offices but for the

MBDA’s racial eligibility requirement. See, e.g., ECF 1: ¶¶ 42–51. Nuziard has encountered the

MBDA’s race-based barrier at other offices in Arizona, New Mexico, and Florida, even though he

meets any additionally indicated non-statutory criteria. ECF 44:15–16; ECF 39:4 ¶¶ 14, 32–48;

ECF 1 ¶¶ 43–45, 48. Similarly, Bruckner would have sought assistance from several other MBDA

offices that do not appear to indicate additional non-statutory requirements, including the Miami,

Alabama and Georgia offices, since he does business across the United States; but he remains

subject to the MBDA’s racial barrier. ECF 44:21–22; ECF 39:26 ¶¶ 34–38, 2 ECF 39:30 ¶¶ 53–57;

ECF 1 ¶¶ 42–44, 50.

        Defendants’ attempts to pick apart each Plaintiff’s standing fail as both a matter of fact and

law and frequently rest on a fundamental misconception of Plaintiffs’ injuries. For example,

Defendants’ only answer to disputing Nuziard’s satisfaction of non-statutory race-neutral criteria

is based entirely on defense counsel’s newfound, post hoc interpretation of the Dallas Fort Worth

MBDA’s revenue requirement. But as Plaintiffs have thoroughly explained, these assertions in no

way negate Nuziard’s “ability” to apply. See ECF 44:15–19. Similarly, Defendants’ retort to

Bruckner’s satisfaction of non-statutory race-neutral criteria is based on unknown and later-

discovered requirements at the Orlando MBDA. 3 But as Plaintiffs have already explained, these




    2
      Contrary to Defendants contentions, Bruckner has not asserted that he provided information about his
race to the Miami MBDA in his later email inquiry. His declaration simply states that the website indicates
a “minority business enterprise” requirement and that he emailed the office to confirm available assistance
options—as the website does not indicate further eligibility information—but did not receive a response.
    3
      The Orlando MBDA still does not appear to post a revenue requirement on its website. In fact, the
intake form Mr. Bruckner attempted to complete offers a revenue selection from $0–450,000+. See Orlando
MBDA Business Center Customer Intake Form (last visited Nov. 26, 2023). See, e.g., ECF 1 ¶¶ 37–38.

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assertions do not refute Bruckner’s “ability” to apply. Indeed, Bruckner testified that but for the

MBDA notice of the race-based requirement, communicated through multiple emails from the

Orlando MBDA, he would have liked the option to proceed with an application anyway in order

to determine the parameters of any requirements and exceptions thereto. See ECF 44:21–29.

        Defendants’ attacks on Piper’s “readiness” to apply fare no better. See ECF 44:32–39. The

fact that the Wisconsin MBDA was not open at the time Piper sought the Program does not close

his case. The Program is national in scope, has been advertised since the passage of the MBDA

Statute in 2021; and indeed, Piper sought access from nearby MBDA offices. See ECF 42:46.

Moreover, the Wisconsin MBDA had been announced as soon-coming, and the case law is clear

that Piper is entitled to seek benefits for the “reasonably foreseeable future.” Carney, 141 S. Ct. at

500. Piper is not required to subject himself to the “futile gesture” of applying to a discriminatory

benefit to establish standing. Teamsters, 431 U.S. at 365–66. Likewise, Defendants’ contention

that Piper may not vindicate his own constitutional rights while simultaneously advancing a

broader principle is unfounded, particularly where, as here, the principle is one of immense public

interest. See ECF 44:39–40. Nor do Defendants’ nitpickings about Piper “work[ing] alone” in the

absence of employees have anything to with Piper’s desire to obtain additional work for his

business. As Defendants are aware, Piper’s “primary interest” is growth and he is “willing to work

nights and weekends” to “ramp up” to his capacity to bring in $100,000 in fees. ECF 47:26–30.

Conflicts he may encounter at times when receiving multiple requests for the same time frame do

not undercut his desire to seek growth that fits his business model.

        Thus, Plaintiffs have demonstrated an injury in fact. Providing additional information

beyond the “identifiable trifle” that is required for the injury in fact analysis does not strip standing

from a party that already has established it. ESI/Employee Solutions, L.P. v. City of Dallas, 531 F.

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Supp. 3d 1181, 1190 (E.D. Tex. 2021) (quoting OCA-Greater Hous. v. Texas, 867 F.3d 604, 612

(5th Cir. 2017)).

       Defendants take issue with the additional information Plaintiffs provided in both their

depositions and declarations, ranging from Plaintiffs’ descriptions of their own businesses to their

plans as to how they would have benefitted from the Programming. For example, Nuziard

discussed his plans to further expand his clinics to states other than Texas, and Piper noted his

desire to look for work in public contracting. 4 Defendants ask this Court to discount these and

other similar statements as mere “someday intentions,” (ECF 46:32), but “an injury in fact requires

an intent that is concrete”—not precise dates, times, and locations—for standing purposes. Carney,

141 S. Ct. at 502 (emphasis added). Plaintiffs did not just intend to seek out the Program at some

speculative point in the future. They tried to apply and were deemed ineligible (or were explicitly

told they could not apply) because of their race.

       In an effort to evade the earlier ruling, Defendants ask this Court to invoke the “sham

affidavit” rule to exclude Plaintiffs’ declarations stating they attempted to access multiple MBDA

offices over time. See ECF 46:24. But that rule does not apply to an “affidavit that ‘supplements

rather than contradicts prior deposition testimony.’” Seigler v. Wal-Mart Stores Texas, LLC, 30

F.4th 472, 477 (5th Cir. 2022) (citation omitted). The sham affidavit rule “is applied sparingly”

and used only for an “inherent inconsistency” between deposition testimony and the declaration.

Guerrero v. Total Renal Care, Inc., 932 F. Supp. 2d 769, 776 (W.D. Tex. 2013) (citations and




   4
      Defendants take issue with the Piper’s interest in the Illinois and Minnesota MBDA offices, while
failing to recognize that the Illinois MBDA has long served Wisconsin, just like many MBDA offices serve
broad geographical regions. See ECF 44:31–32, n. 14 (press release relied upon by Piper noting that
Wisconsin is served by MBDA offices located elsewhere, including the Illinois MBDA in Chicago).

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internal quotation marks omitted). But nothing in Plaintiffs’ declarations is inconsistent with their

deposition testimony or their sworn statements in the Verified Complaint. See Winzer v. Kaufman

Cty., 916 F.3d 464, 472 (5th Cir. 2019) (“while the affidavit significantly supplements the

complaint factually, it contradicts nothing” and the district court erred in excluding it). While

Plaintiffs’ prior submissions were more than sufficient to establish their entitlement to the relief

they seek, they are not barred from providing evidence outside of the complaint at the summary

judgment stage. 5

        B.       Plaintiffs’ injuries are traceable to Defendants and redressable by this Court.

        Plaintiffs have also established the second and third requirements of standing because the

“denial of equal treatment” “is traceable to the race and ethnicity-based [P]rogram,” and since

“[t]he MBDA dictates what races and ethnicities [it] can help,” “an injunction preventing

enforcement of the Program’s race-and ethnicity-requirement would redress” the injury. ECF

27:6–8. In response, Defendants recycle arguments about Plaintiffs’ satisfaction of non-statutory,

race-neutral criteria. However, as Plaintiffs have explained, this argument fails to refute



    5
      To the extent Defendants do not believe, say, that a business owner like Nuziard could both be in need
of resources and be seeking to expand his business beyond its two current locations, or that a sole proprietor
like Piper would desire to seek out additional work (despite their sworn statements that they could and
would), that is, at most, a credibility contest for trial and does not justify tossing their claims as a matter of
law. Waste Mgmt. of La., LLC v. River Birch, Inc., 920 F.3d 958, 964 (5th Cir. 2019) (“Credibility
determinations have no place in summary judgment proceedings”) (quoting citation omitted). Defendants
even take issue with Bruckner’s description of his prior, Florida business, Car Squad Inc., which
“contain[ed] both a government sales division for government contracting and a commercial division for
automotive reconditioning,” and which Bruckner determined to dissolve, given his desire to continue his
work solely in federal contracting, among other considerations. See ECF 39:21 ¶¶ 7–9. During discovery,
Plaintiffs provided Defendants verified interrogatories regarding the same and a production document
listing examples of federal contracting projects that Car Squad, Inc. performed. In the spirit of
completeness, Plaintiffs have included the email and information as provided to Defendants in the attached
Third Declaration of Cara Tolliver. MSJ Reply App. 13–19.

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redressability for the same reasons it fails under the injury in fact prong. See ECF 44:44–49; supra

Section I.A. In sum, the government’s race-based rejection of those business owners it disfavors

is always on as the government’s only basis of rejection, since the MBDA Statute imposes no other

requirements for any other basis of its rejection. See 15 U.S.C. §§ 9501(9), (15). Defendants cannot

point to individual offices’ non-statutory criteria, which Defendants do not administer, to save the

Program. Moreover, Plaintiffs have sought the Programming from MBDA offices that do not

impose any additional criteria (and could still do so). In any event, Plaintiffs met all relevant non-

statutory race-neutral criteria.

        Defendants’ contention that Plaintiffs have not alleged that they are “socially or

economically disadvantaged individuals” pulls no weight. ECF 46:36–37. These definitions are

not race-neutral, 15 U.S.C. §§ 9501(9), (15); they are set forth on the basis of race—a race-based

presumption of eligibility, which is what Plaintiffs challenge. Plaintiffs have alleged that they

would be eligible for Programming but for the MBDA’s race-based requirement. Yet throughout

this case, Defendants have maintained that Plaintiffs must prove their entitlement to the

presumption, whilst favored races need not do so. It is that position (the race-based presumption)

that brought Plaintiffs to court in the first place.

II.     Plaintiffs are entitled to favorable Summary Judgment because the MBDA Statute
        violates the Fifth Amendment’s Equal Protection Guarantee.

        Between the MBDA Statute and its implementing regulations, some dozen-plus racial and

ethnic minorities (potentially overlapping) are selected for a presumption of eligibility for MBDA

Programming. 15 U.S.C. § 9501(15)(B); 15 C.F.R. §§ 1400.1(b)–(c). Defendants agree, as they

must, that “programs with racial classifications are subject to strict scrutiny” pursuant to the

exacting standards of equal protection jurisprudence. See ECF 46:37; Johnson v. California, 543


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U.S. 499, 505 (2005). Yet, despite the Supreme Court’s decision in SFFA, in which the Court, took

pains to reiterate, even emphatically, this body of law in great detail, Defendants begin with a

narrow assertion that “Croson governs this case.” ECF 46:39–41. Hoping to cabin SFFA for

“diversity in the classroom” only, Defendants deliver the astonishing claim that this case does not

involve “anything akin” to the issues in SFFA. ECF 46:40. That argument is like saying that cases

from Regents of Univ. of California v. Bakke, 438 U.S. 265 (1978) and its predecessors to Parents

Involved in Cmty. Sch. v. Seattle Sch. Dist. No. 1, 551 U.S. 701 (2007) do not apply and have

nothing to say about equal protection jurisprudence. But of course, that is not the case. Nor can the

commands of equal protection be selectively muted at the government’s will.

       SFFA did not regraft “the heart of the Constitution’s guarantee of equal protection” but

instead reaffirms “that the Government [] treat citizens as individuals, not as simply components

of a racial [] or national class.” SFFA, 143 S. Ct. at 2172 (quoting Miller v. Johnson, 515 U.S. 900,

911 (1995)). Indeed, these principles form “the twin commands of the Equal Protection Clause,”

which administers the “pledge of the protection of equal laws,” by “guard[ing] against two

dangers that all race-based government action portends”—the use of one’s race against him as

either as a ‘negative’ or as a stereotype. See SFFA, 143 S. Ct. at 2165, 68 (emphases added); Yick

Wo v. Hopkins, 118 U.S. 356, 369 (1886). Likewise, the “twin commands” drive the strict scrutiny

inquiry, which is designed to “‘smoke out’ illegitimate uses of race” so that there is virtually “no

possibility” that a classification is the product of “illegitimate racial prejudice or stereotype,”

motivated by “illegitimate notions of racial inferiority or simple racial politics.” Adarand

Constructors, Inc. v. Pena, 515 U.S. 200, 226 (1995) (citation omitted).

       Thus, based in substantial precedent, this Court correctly held that a government interest

in remediating discrimination is compelling only if it targets (1) specifically identified instances

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of past discrimination, for which there is evidence of (2) intentional discrimination, and (3)

government participation. ECF 27:9 (citing Vitolo v. Guzman, 999 F.3d 353, 361 (6th Cir. 2021));

see, e.g., Regents of Univ. of California v. Bakke, 438 U.S. 265, 307–09 (1978); Wygant v. Jackson

Bd. of Educ., 476 U.S. 267, 274, 276 (1986); Washington v. Davis, 426 U.S. 229, 239–42 (1976);

Shaw v. Hunt, 517 U.S. 899, 909-10 (1996); Parents Involved in Cmty. Sch. v. Seattle Sch. Dist.

No. 1, 551 U.S. 701, 720, 731–32 (2007) (collectively requiring discrimination to be “identified”

with “specificity” with a “showing of prior discrimination by the governmental unit involved”).

       Said differently, when the government identifies “specific [] instances of past

discrimination that violated the Constitution or a statute,” it may act to undo the discrimination

with a narrowly tailored remedy. SFFA, 143 S. Ct. at 2162 (citing cases recognizing past

intentional discrimination as a compelling interest, along with portions of Justice Thomas’s

concurring opinion, explaining that the injury to be remedied must be concrete and traceable to

“de jure” segregation); Ultima Servs. Corp. v. U.S. Dep't of Agric., No. 220CV00041DCLCCRW,

2023 WL 4633481, at *11 (E.D. Tenn. July 19, 2023) (citing SFFA); see also ECF 38:20–22.

       Indeed, until now, Defendants did not dispute this three-part test. In their opening brief,

Defendants recognized that “Fifth Circuit jurisprudence largely follows the same rubric.” ECF

41:46–47. But now, Defendants claim that “[n]either SFFA nor Fifth Circuit precedent supports

[this test],” while curiously citing SFFA’s nearly identical articulation of this test elsewhere. See

ECF 46:41, 45. Defendants thus appear to imply both that controlling Supreme Court precedent is

void and that this Court simply ignored circuit precedent. Both arguments are unfounded.

       Defendants point to Dean v. City of Shreveport, 438 F.3d 448 (5th Cir. 2006), a case

challenging a fire department’s race-conscious hiring process, to contend that “[t]he Fifth Circuit

explicitly rejected” this Court’s three-part test, because “a formal finding of discrimination [need

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not be made] prior to the use of a race-conscious remedy.” ECF 46:46. But the court’s statement

means only what it says—that there does not have to be a formal finding; it does not mean that the

three-part compelling interest test need not be satisfied. In fact, Dean actually confirms the test

Defendants (now) reject. See 438 F.3d at 454–55 (a court must be able to ensure “that there was a

strong basis in evidence for the conclusion that remedial action was necessary” and “the

government must justify its action with a showing of past discrimination by the governmental unit

seeking to use the race-conscious remedy.”). 6

        Defendants also rely heavily on City of Richmond v. J.A. Croson Co., 488 U.S. 469 (1989)

to establish a compelling interest through an “inference of discrimination” using “statistical

disparity studies and anecdotal evidence.” ECF 46:41, 47–48. But Defendants both misconstrue

and ignore the context of Croson, just as they ignore all other controlling precedent surrounding

it. Croson did, indeed, discuss the use of statistical comparisons, but only in “a proper case”; the

Court specifically referenced Title VII employment discrimination cases—a context confined by

limited players, decisions and decision-makers. See 488 U.S. at 501–02. When the Croson Court

discussed this framework in the context of a city’s contracting program set-aside for minorities, it

found that “low minority membership” was an insufficient interest and that the government lacked

potentially “relevant” facts about the low participation it claimed to remedy. Id. at 503. However,




    6
      Nor do Dean’s statements negate the fact that the strong basis in evidence must have existed “before
[the government] embarks on an affirmative-action program.” Shaw, 517 U.S. at 910 (citation omitted)
(emphasis in original). Contrary to Defendants’ contentions, Plaintiffs have not argued against the use of
“post-enactment evidence.” See ECF 46:55–58. Plaintiffs simply maintain, as did Dean, that any evidence
must demonstrate that there was a strong basis before the government imposed a race-based remedy.
Congress did not establish a compelling interest for the MBDA Statute, nor do Defendants now. See infra
Section II.

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Croson does not hold that just any demonstration of disparity and isolated anecdotes rise to an

“inference of discrimination,” let alone a constitutional justification for a race-based remedy. Nor

does it suggest that there are not a multitude of varying factors “relevant” to a disparity study.

Importantly, whatever Croson began to articulate in its limited discussion about statistical studies,

it did not blunt all equal protection precedent, requiring a showing of intentional discrimination

“by the governmental unit involved.” E.g., Wygant, 476 U.S. at 274; Dean, 438 F.3d at 454.

       A.      Defendants have not met their burden to demonstrate a compelling
               governmental interest for the MBDA Statute’s purported racial remedy.

       In support of the MBDA Statute’s purported racial remedy to accord broad ranging

business assistance nationwide on the basis of race, Defendants point to general concerns about

minority business “start-up, growth, and development opportunities,” given purported statistical

disparities and anecdotes in “America’s public procurement systems,” wealth accumulation and

private lending. See ECF 46:55–65. However, the only discrimination the government can address

with a race-based remedy is that which it intentionally caused. The Constitution demands more

than surveys of racial variations in society and conclusory and vague assertions about what those

numbers might mean.

       To meet their burden to provide “the most exact connection between justification and

classification,” Defendants must identify an alleged constitutional or statutory violation,

demonstrating some specified wrong allegedly committed by a governmental wrongdoer against a

victim. E.g., SFFA, 143 S. Ct. at 2162; Gratz, 539 U.S. at 270. The discrimination to be remedied

must have some definition: it cannot be an “amorphous” concept broadly “suggesting the existence

of discrimination,” e.g., ECF 46:48, 68, far beyond the wrongdoing caused by intentional

governmental discrimination. See Wygant, 476 U.S. at 276.


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       Defendants rely primarily on voluminous disparity studies in the government contracting

context for certain minorities as a “sound method for evaluating the effects of discrimination on

minority business enterprises” of all types across the entire country. See, e.g., ECF 46:58–65. Yet,

the MBDA is not a government contracting agency; it is a business assistance agency that provides

wide-ranging support services without limitation to any industry or business context. Likewise,

the MBDA Statute designates a dozen or so racial groups for a presumption of eligibility that do

not consistently appear to be match-for-match to Defendants’ government contracting studies. See

infra p. 21. Thus, even limited to the government contracting context, Defendants studies come up

short against the span of the MBDA Statute.

       But even setting aside both Defendants’ inartful characterization of the MBDA as a federal

contracting agency and Defendants’ unacceptable extrapolations across the American economy,

Defendants’ broad surveys in the limited procurement context do not identify specific episodes of

discrimination, pointing to constitutional or statutory violations. Nor do they point to intentional

governmental discrimination. 7 Defendants’ own sources identify “non-discriminatory actions”

underlying the disparities. 8 Yet Defendants continue to inaccurately describe these disparities as

“suggesting the existence of discrimination” or as “consistent with the presence of discrimination”

so as to justify the MBDA Statute’s sweeping race-based remedy. See, e.g., ECF 46:48, 68; 41:60.

According to Defendants, they need only show that “an invidious discriminatory purpose” “was a




   7
      The federal contracting cases Defendants cite for support do not conclude that the government has
met the three-part compelling interest test.
   8
      See ECF 20:27; 41:52; 46:64 (Defendants’ oft-cited MBDA review of disparities in federal
contracting, U.S. Dep’t of Commerce, Minority Business Development Agency, Contracting Barriers
and Factors Affecting Minority Business Enterprises (Dec. 2016), at ix). See also ECF 38:26, 28–30.

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motivating factor in the disparities identified.” See ECF 46:50–51. But Defendants cannot do that:

their disparities do not identify any particular discriminator or that discriminator’s discriminatory

acts that could demonstrate a purpose, much less an “invidious purpose” to discriminate,

attributable to the federal government. Nor do isolated and unverified anecdotes lend persuasive

support for intentional discrimination when it cannot be determined to what conduct and to whom

these accounts and perceptions specifically relate. See ECF 38:30–31.

        Notably, Defendants’ assertions about their disparities studies frequently rely on imported

principles from cases involving confined contexts, of limited actors and decisions, and in which

the allegedly responsible discriminator has been identified in specific acts of discrimination against

identified victims. See, e.g., ECF 46:48–51 (citing United Black Firefighters Ass’n v. City of

Akron, 976 F.2d 999 (6th Cir. 1992) (public employer); Portis v. First Nat’l Bank of New Albany,

Miss., 34 F.3d 325 (5th Cir. 1994) (private employer/Title VII); Furnco Const. Corp. v. Waters,

438 U.S. 567 (1978) (private employer/Title VII); Vill. of Arlington Heights v. Metro. Hous. Dev.

Corp., 429 U.S. 252 (1977) (local zoning board)). In contrast, here, there are numerous decision-

makers and actors (both government and private) and countless decisions, involved in a business’s

opportunities and success—not the least of which include individual interests, market and industry

conditions, legitimate stakeholder needs and preferences, and various other factors that could

account for disparities in the relative success or failure.

        Thus, Plaintiffs do not need to “perform [] competing regression analyses that include the

various factors.” See ECF 46:52. Indeed, “there are simply too many” unknowns—“too many

variables to support inferences of intentional discrimination” by the federal government in the

public contracting arena, much less intentional discrimination by the federal government across

all business contexts across America. See ECF 27:10 (citing Vitolo, 999 F.3d at 362); accord Eng’g

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Contractors Ass’n of S. Fla. Inc. v. Metro. Dade Cnty., 122 F.3d 895, 922 (11th Cir. 1997) (“[T]he

disproportionate attraction of a minority group to [an] industr[y] does not mean that discrimination

in the [] industry is the reason.”); McNamara v. City of Chicago, 138 F.3d 1219, 1223 (7th Cir.

1998) (“statistical disparities prove little; they certainly do not prove intentional discrimination.”).

       Even Defendants’ expert acknowledges the “possibly dozens of factors [that] might

influence the ability of any individual to succeed,” though discounts these as “subjection

descriptions” that are irrelevant and cannot be controlled. See ECF 39:74. Further, Defendants’

expert claims that “capacity factors”—such as a contracting firm’s age, size, revenues, bonding

limits, and expertise—must never be considered or controlled because they themselves are always

infected by discrimination. ECF 39:72–73. But this notion itself would seem to be a broad

generalization in and of itself that Defendants’ expert did not specifically address. Given this, it is

unsurprising that Defendants’ expert report and various other sources do not employ the term

“intentional discrimination” even once. See ECF 38:29–30. Moreover, many courts have raised

concerns regarding relevant factor control. E.g., Eng’g Contractors, 122 F.3d at 917, 922

(describing the importance of accounting for known non-discriminatory factors in proving

intentional discrimination, but nevertheless rejecting the contention “that any significant

disparities that exist after[wards] [] must [necessarily] be due to the ongoing effects of []

discrimination”); James v. Stockham Valves & Fittings Co., 559 F.2d 310 (5th Cir. 1977) (relevant

factor control important to determining study results). See also ECF 44:52–56. Indeed, the

“Wainwright” and “Chow” reports Defendants rely on here, e.g., ECF 46:62, were recently held

insufficient for demonstrating intentional governmental discrimination in justifying a nearly

identical race-based presumption applying to SBA’s Section 8(a) program. Ultima, 2023 WL

4633481 at *2, 13 (“Defendants cannot affirmatively link those disparities to intentional

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discrimination because they also cannot eliminate all variables that could account for the

disparities.”).

        Nor does Defendants’ alarming notion of “government participation”—in which the

government is “a passive participant in private discrimination” simply by existing in a market of

“barriers” that negatively affect business formation or competition— pass muster. ECF 46:66–67.

While the government has a compelling interest in ensuring that tax dollars are lawfully spent,

Defendants’ theory of “passive government participation” amounts only to another “amorphous”

concept with no boundaries or limitations for the government’s imposition of a race-based remedy.

But as this Court stated, for the government “to be a passive participant, it must be a participant.”

ECF 27:10; accord e.g., Croson, 488 U.S. 469, 492–93, 503–04 (government “may not induce,

encourage or promote private persons to accomplish what it is constitutionally forbidden to

accomplish.”) (quoting citation omitted).

        To be sure, the use of circumstantial evidence is not the problem. 9 The problem is that

Defendants’ assertions lack all the essential elements of a claim of intentional government

discrimination: there is no indication of what specified discriminatory violations occurred;

government involvement is wholly unclear; and given the broad and unverified assertions

conferred by Defendants’ anecdotal evidence, victims cannot be distinguished either. This is a far

cry from the required, specific instances of intentional discrimination in which the government

participated. In short, Defendants’ studies focusing on “America’s public procurement systems”

claim to point to systemic discrimination, and the government endeavors to lay claim to such



    9
      Defendants devote much attention to discussing direct versus circumstantial evidence. See ECF
46:47–54. But this lesson in distinction misses the point. The requirement is that Defendants identify
specific instances of intentional governmental discrimination that violated the Constitution or a statute.

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purported discrimination far beyond any of its own, much less that discrimination it intentionally

caused. However, outside of “constitutional or statutory violations,” “the government has no

compelling justification for inflicting [the] harm” of “helping one individual” over “refraining

from harming another.” Bakke, 438 U.S. at 308–09.

         Likewise, “racial discrimination in lending markets” allegedly caused by an “enormous

wealth gap between white and non-white families” and “private discrimination from banks” fail to

point to any specific episodes of discrimination that is either intentional or involves government

participation. See ECF 46:57–61. Although, disparities in “wealth accumulation” point again to

societal discrimination (necessarily derived from numerous factors), Defendants also explain the

“wealth gap” as resulting, “at least partially [from] the fruit of discriminatory government

practices,” dating from sixty to ninety years ago. ECF 46:61; 41:50. 10 No one denies the atrocity

of past racial segregation, particularly with respect to African Americans. But the examples

provided do not focus on each of the numerous minorities included under MBDA Statute; rather,

they involve primarily Blacks. Further, the MBDA Statute “does not target black wealth

accumulation”; the Program “targets some minority business owners.” ECF 27:9. And even absent

the issues with creating a causal chain between “wealth accumulation” and access to credit against

a backdrop of various societal factors, the types of examples provided are not the type of relevant

instances of intentional discrimination instances supporting a compelling governmental interest

that justifies the MBDA and its race-based Programming today. Moreover, as discussed in




    10
       Citing, past “federally-sanctioned redlining” (occurring from 1934 until the 1960s), a “denial of the
benefits of the G.I. Bill to Black veterans,” (legislation formally known as the Servicemen's Readjustment
Act of 1944) and “Jim Crow” (ending around 1965). See also ECF 42-7:1358; National Geographic,
https://education.nationalgeographic.org/resource/who-was-jim-crow/ (last accessed Nov. 25, 2023).

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Plaintiffs’ responsive briefing, Defendants’ also overlook other government remedies enacted to

address these instances of past discrimination. See 44:58–59.

       Defendants also continue to highlight old sources dating back to the 1970s and 80s that

they claim supports the government’s compelling interest in the MBDA Statute’s broad race-based

remedy. See, e.g., ECF 46:65–66. However, past governmental interests, even if once compelling,

do not equate to compelling interests today. E.g., Dean, 438 F.3d at 456–57. Thus, racial

classifications listed under 15 C.F.R. pt. 1400 at the time they were designated between 1971 and

1984 may not be summarily incorporated into the MBDA Statute without a justification relevant

to this decade. ECF 38:24, 33 (citing regulatory authorities).

       A construct, like Defendants, that claims to identify discrimination but does not specify the

discriminatory violations or the responsible invidious discriminator, might show “a dearth of

minority participation,” Croson, 488 U.S. at 503, but it does not give rise to any “inference of

discrimination,” pointing to a specific episode of intentional government discrimination that can

be remediated with race-based government action. Rather, it is the very definition of societal

discrimination. Parents Involved, 551 U.S. at 731–32 (plurality) (“[A] governmental agency's

interest in remedying ‘societal’ discrimination, that is, discrimination not traceable to its own

actions, cannot be deemed sufficiently compelling to pass constitutional muster”) (citation and

internal brackets omitted). The MBDA Statute, accordingly, fails strict scrutiny.

       B.      The MBDA Statute does not enact a narrowly tailored remedy.

       “Even if the Government had shown a compelling state interest in remedying some specific

episode of discrimination, the Program is not narrowly tailored to further that interest.” ECF 27:11.

There is no reason for this Court to reverse that conclusion here. Defendants’ have no persuasive

response against the weight of the narrow tailoring standard because the MBDA Statute’s racial

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classifications are not tailored at all. Plaintiffs will not repeat the entirety of their arguments on

this point here, but prior briefing confirms that the MBDA Statute’s racial classifications fail on

every requirement under the inquiry—from necessity to flexibility and duration to third party harm

and beyond. See ECF 38:36–41; 44:59–62; 15:21–27; 24:10. At bottom, Defendants cannot

demonstrate necessity for the MBDA Statute’s racial classifications because their evidence does

not address the scope of the statute’s authorization in relation to the benefits the agency provides

and the racial classifications purportedly designated for remedy.

       Defendants have relied primarily on disparity studies in government contracting, but the

MBDA provides broad ranging business assistance far beyond federal procurement. Even if

contracting were the relevant metric, the racial classifications at play under the MBDA Statute and

15 C.F.R. § 1400.1 do not compare match-for-match to the government’s disparity studies. That

is the problem with a “scattershot approach,” calling out broad and numerous racial groups as the

MBDA Statute does. See ECF 27:12. What is the difference between “Asian,” “other Pacific

Islander,” “Asian Pacific American[]” and “Asian Indian[]”? The MBDA Statute does not say, and

Defendants do not know, just as the government did not know in SFFA. Compare SFFA, 143 S.

Ct. at 2168 (University of North Carolina’s answer: “[I] do not know the answer to that question.”)

with ECF 39:54 (Defendants’ response here: “Defendants object to [Plaintiffs’ request to describe

how Defendants discern who is ‘Asian’] because it is argumentative and requires the adoption of

an assumption that is improper.”). Nor do Defendants’ disparity studies address these various

differences. Thus, the point of Plaintiffs’ “truism,” noticing that the “Asian” classification covers

a lot of ground, was not necessarily that every business owner in Asia will be today entitled to the

Programming under the MBDA’s Statute’s racial presumption of eligibility (although they

certainly could be, if they moved their businesses here, tomorrow). See ECF 38:37; 46:71. Rather,

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Plaintiffs’ point it is that the MBDA Statute employs numerous racial classifications that are

“imprecise,” “arbitrary,” “undefined,” “overbroad,” and “underinclusive.” SFFA, 143 S. Ct. at

2167–68. This Court did not find otherwise, explaining that the Program is underinclusive—both

because it “arbitrarily excludes many minority-owned business owners” without justification, and

“because it excludes every minority business owner who owns less than 51% of their business”—

and overinclusive because “it helps individuals who may have never been discriminated against.”

ECF 27:11–12.

       In addition, the MBDA Statute is in no way limited in duration. Indeed, Defendants explain

that “[f]or more than a half-century, [the MBDA] has dedicated itself to supporting socially and

economically disadvantaged business owners across America.” ECF 41:14. At 54 years and

running, narrow tailoring dictates that the MBDA should be sunsetting. But instead, “no end is in

sight,” and the MBDA Statute has only expanded government-sponsored discrimination through

a fully integrated nationwide network of “widely publicize[d]” offices. See 15 U.S.C. §§ 9501–

9598; SFFA 143 S. Ct. at 2166. Defendants’ claim that a design for congressional reauthorization

after 2025 or that a generalized congressional reporting requirement regarding “activit[ies] of the

Agency” can somehow satisfy durational limiting against this backdrop are incredible. ECF 46:73.

Even more so, where, as here, Defendants have repeatedly emphasized their need for this race-

based remedy because “the needle [has] not move[d]” in balancing out “stubborn disparities.” ECF

20:22; 46:70. A remedy that has been tried (and has, by Defendant’s own account, failed) for five

decades cannot be narrowly tailored.

       Finally, Defendants’ assertion that the MBDA Statute’s racial presumptions do not “have

any meaningful effect on third parties” is absurd. “[I]t is not even theoretically possible to ‘help’

a certain racial group without causing harm to members of other racial groups.” E.g., SFFA, 143

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S. Ct. at 2199 (Thomas, J., concurring). Defendants argue that the MBDA Statute imposes a racial

presumption of disadvantage for eligibility but does not foreclose individuals from hurdling the

presumption and “showing” their “social or economic disadvantage based on their identification

as a member of a group.” ECF 46:74. That is true, but it only reveals the inequality at play. See

ECF 1: ¶ 31. Moreover, Defendants appear to have allowed the presumption to operate as the

exclusive definition of eligibility for almost two years following the passage of the statute, and

failed to take any action to course correct until just days before dispositive motions were due. See

infra p. 31–33 (as discussed further); ECF 38:46–48; 44:40–41 (discussing MBDA’s recent policy

update). Even if Defendants’ comply with the MBDA Statute now, this solves nothing; the statute

continues to impose burdens and benefits on the basis of race. See Ultima, 2023 WL 4633481 at

*15 (“individuals who do not receive the presumption must put forth double the effort to qualify”)

(recognizing that the difficulty of proving one’s own disadvantage in the face of an automatic

presumption for others ensures that the presumption is “dispositive” of whether applicants receive

the government benefit). The MBDA Statute is not lacking in “meaningful effect.” Rather, its

widespread harm is yet another indication that the MBDA Statute fails narrow tailoring.

                                                ***

       In sum, Defendants’ “extensive record of more than 22,000 pages” justifies exactly

nothing. ECF 46:43. The MBDA Statute’s racial remedy outright fails both prongs of strict

scrutiny. These failures mean that the MBDA Statute does not enact legitimate uses of race but is

instead the product of “illegitimate notions of racial inferiority,” “illegitimate racial prejudice or

stereotype,” and even “racial politics,” and further violates the “twin commands.” E.g., Adarand,

515 U.S. at 226; see ECF 38:42–45. Indeed, the MBDA Statute’s presumptions rely on

“stereotypes,” assuming that business owners entitled to the racial presumption “always (or even

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consistently)” require it for success; and that business owners of other races “always (or even

consistently)” do not require such assistance for success. See SFFA, 143 S. Ct. at 2169–70.

Likewise, the statute’s racial presumption necessarily operates as a “negative” or “zero-sum” game

because “[a] benefit provided to some applicants but not to others necessarily advantages the

former group at the expense of the latter.” Id. at 2168–69. That is what happens in the absence of

narrow tailoring whereby individuals are not treated as individuals and are instead called out on

the broad basis of race and race alone.

       Finally, despite Defendants’ assertions, the government is not “powerless” to address either

discrimination or disadvantage simply because it must work within constitutional safeguards to do

so. ECF 46:43. However, if there was any doubt about how the principles of equal protection must

be applied, SFFA cleared the air when it forcefully struck down race-based admissions programs,

reconciling the issue in conformity with the already well-established principles of equal protection.

As the SFFA Court concluded:

               In other words, [individuals] must be treated based on his or her experiences
               as an individual—not on the basis of race. Many [] have for too long done
               just the opposite. And in doing so, [the government has] concluded,
               wrongly, that the touchstone of an individual’s identity is not challenges
               bested, skills built, or lessons learned but the color of their skin. Our
               constitutional history does not tolerate that choice. 143 S. Ct. at 2176.

Accordingly, summary judgment for Plaintiffs on their equal protection claim is in order.

III.   Plaintiffs are entitled to favorable Summary Judgment because the MBDA Statute
       violates the Administrative Procedure Act.

       The MBDA’s implementing regulations at 15 C.F.R. pt. 1400, as incorporated into the

MBDA Statute at 15 U.S.C. § 9501(15)(B)(vi), violate the Administrative Procedure Act (“APA”).

For all the reasons discussed supra Section II., these regulations designate constitutionally

indefensible racial and ethnic groups for presumptive disadvantage and further create a process by

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which “representatives of [a] group” may “show” their disadvantage to designate “as a whole” the

group and its members as “socially or economically disadvantaged” in violation of the Fifth

Amendment’s Equal Protection Guarantee. See 15 C.F.R. §§ 1400.1, pt. 1400.

        The APA requires courts to “hold unlawful and set aside” final “agency action,” including

“an agency rule,” “found to be contrary to constitutional right.” 5 U.S.C. §§ 706(2)(B), 704,

551(13). Thus, a determination of a constitutional violation in this case simultaneously results in

a finding that the MBDA implementing regulations also violate the APA.

        Up to this point, Defendants have not argued otherwise. Indeed, Defendants have

specifically agreed with Plaintiffs on this point, indicating, multiple times, that if Plaintiffs succeed

on their constitutional claim, then they also must succeed on their APA claim. See ECF 20:15 n.

16 (“Plaintiffs’ APA claim is consequently subsumed by their Constitutional claim.”); 41:84–85

(same). However, now, in another sudden change of position, Defendants say that if the MBDA

Statute “permanently den[ies] the presumption of social or economic disadvantage to certain

groups or races,” then the “separate process of approval” under MBDA implementing regulations,

requiring “groups” to prove their entitlement to the presumption of eligibility cannot

simultaneously violate the APA. They claim that “Plaintiffs position”—that both the statute and

regulations are unconstitutional—“is fundamentally flawed” because “Plaintiffs’ challenge to the

regulations, if successful, would delete the group admission process and thus eliminate the

constitutional underpinning of narrow tailoring from the operation of the program.”

        Defendants’ argument is simply untenable, demonstrating only a misconstruction of the

constitutional injuries at play and the law that applies. The presumption of eligibility, extending

across the MBDA Statute and its implementing regulations and by which various racial and ethnic

groups may be designated, imposes burdens unequally on the basis of race. For multiple,

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independently sufficient reasons it is unjustified and unconstitutional under each prong of strict

scrutiny and the twin commands. Accordingly, summary judgment for Plaintiffs on their APA

claim is in order, and the APA requires that these unconstitutional regulations—designating

unjustified racial classes and mandating a process imposing unequal burdens on the basis of race—

be set aside. See infra Section IV.B. (further discussing remedy under the APA).

IV.    The MBDA Statute is unconstitutional on its face, inflicts irreparable harms, and the
       APA and principles of equitable relief empower this Court to grant complete relief.

       A.      Broad declaratory and injunctive relief is warranted.

       It is “the power and the duty of federal courts to declare federal statutes unconstitutional,”

and because Plaintiffs have, again, satisfied the standard for injunctive relief, Plaintiffs have asked

this Court to declare the MBDA Statute’s racial presumption unconstitutional in violation of the

Fifth Amendment’s equal protection guarantee and 5 U.S.C. § 706(2)(B) and enjoin its

enforcement. ECF 37; Finch v. Mississippi State Med. Ass’n, Inc., 585 F.2d 765, 776 (5th Cir.

1978) (citing Marbury v. Madison, 5 U.S. 137 (1803)); Dresser-Rand Co. v. Virtual Automation

Inc., 361 F.3d 831, 847 (5th Cir. 2004) (the standards for permanent and preliminary injunctions

are essentially the same); Valentine v. Collier, 993 F.3d 270, 280 (5th Cir. 2021) (a plaintiff must

demonstrate success on the merits, irreparable injury, and that the public interest and balance of

harms favor an injunction).

       Defendants do not dispute that either the denial of equal treatment or stigmatic injury

constitute irreparable harms as a matter of law. Instead Defendants merely restate their assertion

that Plaintiffs have not established injury under the standing inquiry, and then further allege that

the “more than four month[]” delay following the Court’s entry of the preliminary injunction was

caused by Plaintiffs in an attempt to “manufacture a possible harm of rejection” from the MBDA.


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ECF 46:78–79; 41:20–21. However, in the first place, it was not until October 6, 2023, that

Plaintiffs became aware of Defendants’ willingness to implement the Court’s preliminary

injunction order. 11 Moreover, the facts and the law are the same as they were when this Court

found that Defendants were likely in violation of the Fifth Amendment, given their implementation

of the MBDA Statute in denial of Plaintiffs’ equal protection rights. See ECF 27. Plaintiffs have

not, and do not need to, “manufacture” any additional rejections. The irreparable harm of the

constitutional violation is already manifest. See, e.g., ECF 27:12–13; League of United Latin Am.

Citizens v. Abbott, 601 F. Supp. 3d 147, 182 (W.D. Tex. 2022) (“Violations of [constitutional equal

protection] inflict irreparable injuries because the loss of constitutional freedoms for even minimal

periods of time unquestionably constitutes irreparable injury.”) (citing 5th Circuit and Supreme

Court cases) (cleaned up). Any abatement of injunctive relief to “prevent[] Defendants from

denying Plaintiffs equal access to the Program” would only allow the constitutional violations to

continue, reinstating the irreparable harms. See ECF 27:13.

         Defendants also assert that the balance of hardships and public interest favors them because

they will be unable to continue their unconstitutional Program if they are enjoined. ECF 46:79–

81. Defendants’ argument appears to be that they must be allowed to continue the Program (even

if this Court declares it to be unconstitutional) because there are benefits derived from its

unconstitutional provisions. Id. That argument simply carries no water. “[I]t is always in the public

interest to prevent the violation of a party’s constitutional rights.” ECF 27:13 (citing Jackson




    11
      Because Defendants have now twice falsely asserted that Plaintiffs were responsible for delaying the
implementation of the Court’s preliminary injunction, Plaintiffs submit the Third Declaration of Cara
Tolliver, containing the full communications between counsel on this issue, which Defendants partially
omitted. MSJ Reply App. 4–12.

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Women’s Health Org. v. Currier, 760 F.3d 448, 458 n. 9 (5th Cir. 2014)). If Congress wants any

benefit to continue, it must re-tool the Program to benefit all Americans or otherwise comport with

the Constitution in enacting a race-based remedy. There is no public or governmental interest in

allowing Defendants to continue implementing an unconstitutional program. Thus, the balancing

of harms and public interest consideration weigh in favor of granting the injunction. See also ECF

38:53; 15:29. Accordingly, Plaintiffs have demonstrated that the MBDA Statute’s racial

presumption is unconstitutional and that an injunction, prohibiting Defendants’ implementation

therefore, is warranted.

       Here, the scope of that relief must necessarily be broad “to cure the condition that offends

the Constitution.” Milliken v. Bradley, 433 U.S. 267, 282 (1977) (emphasis added). It is “the nature

and extent of the constitutional violation” that determines “the scope of the remedy.” Milliken v.

Bradley, 418 U.S. 717, 744 (1974). Here, the “nature” of the violation concerns the constitutional

guarantee to be free of race discrimination, which is a right of all people of all races, spanning the

public interest across the nation. Likewise, the “extent” of the MBDA Statute’s invalidity has been

established in toto: The MBDA Statute discriminates entirely on the basis of race without

justification, and that is true whether a business owner is a member of a favored or disfavored

racial or ethnic group.

       Defendants assert that broad relief is premised merely upon protecting Plaintiffs from

future harm in which “their businesses relocate” and they must seek MBDA’s Programming “in

another state.” ECF 46:82. And while, it is true that the “workability” of a narrower injunction is

a concern, given at least two Plaintiffs’ interstate operations considerations, this argument is only

part of the equation. Lemon v. Kurtzman, 411 U.S. 192, 200 (1973) (injunctions must be

“workable”); see also ECF 38:51–53. More fundamentally however, injunctive relief must address

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“the condition that offends the Constitution,” and “[t]he ‘condition’ offending the Constitution is

[MBDA]’s de jure [discrimination].” Milliken, 433 U.S. at 282.

         Defendants explain Califano v. Yamasaki as recognizing that “injunctive relief should be

no more burdensome to the defendant than necessary.” 442 U.S. 682, 702 (1979). And indeed, that

is correct. But “an injunction [] is not a burdensome thing” when “it simply requires the

[government] to obey the law.” Hodgson v. First Fed. Sav. & Loan Ass'n of Broward Cnty., Fla.,

455 F.2d 818, 826 (5th Cir. 1972). “The aim of an injunction [of general applicability] is remedial,

not punitive.” Id. There is no legal justification in compartmentalizing the operation of the MBDA

Statute in order to preserve its unconstitutional race discrimination elsewhere. 12 Nor can the Court

easily address Plaintiffs’ injuries “without assuming a premise”—the constitutionality of the

MBDA Statute—“that is itself in doubt.” Citizens United v. Fed. Election Comm’n, 558 U.S. 310,

331 (2010). Indeed, Plaintiffs’ case is premised entirely upon the broader unconstitutionality of



    12
       Defendants are wrong that the class action in Califano serves as any point of relevant distinction
here. There, the Court simply assured that “a nationwide class [is not] inconsistent with principles of equity
jurisprudence, since the scope of injunctive relief is dictated by the extent of the violation established, not
by the geographical extent of the plaintiff class.” 442 U.S. at 702. These principles are thus relevant in this
case and every equity case, as also explained supra p. 28. Defendants’ proposal that Plaintiffs must certify
a class action to afford “members of the public” who “may not agree with Plaintiffs’ efforts” “an
opportunity [] to opt out,” before this Court can issue broad relief is similarly misplaced. “Where
constitutional rights are concerned, enforcement of an unconstitutional law is always contrary to the public
interest.” Fund Texas Choice v. Paxton, No. 1:22-CV-859-RP, 2023 WL 2558143, at *27 (W.D. Tex. Feb.
24, 2023) (citation and internal quotations omitted) (collecting cases).
    Similarly, Defendants do not help themselves in trying to distinguish Mitchell v. Pidcock as cited in
Plaintiffs’ opening brief for the proposition that “a suit in equity for an injunction to protect interests
jeopardized in a private controversy” may extend far beyond the parties when “[t]he public interest is
jeopardized.” 299 F.2d 281, 287 (5th Cir. 1962); ECF 38:50. Defendants point to the fact that “the Mitchell
Court was enforcing [the law]”—an “injunction [that] amounted to ordering the defendants not to break the
law again.” ECF 46:84 n. 63 (emphasis in original). But indeed, this is exactly what Plaintiffs have asked
the Court to do in this case—the “supreme Law of the Land” must be enforced. E.g., Cooper v. Aaron, 358
U.S. 1, 18 (1958) (“Article VI of the Constitution makes the Constitution the ‘supreme Law of the Land.’”).

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the MBDA Statute, and the Court must pass upon that issue in order to determine Plaintiffs’ case.

See Ultima, 2023 WL 4633481 at *18 n. 10 (determining the constitutionality of a regulation and

reasoning that the court may issue broad relief, “enjoin[ing] Defendants from using the rebuttable

presumption because that remedy is ‘necessary to resolve a claim[.]’”) (citing, inter alia, Citizens

United, 558 U.S. at 331).

       As the Fifth Circuit declared, “the injunctive processes are a means of effecting general

compliance with national policy as expressed by Congress, a public policy judges too must carry

out–actuated by the spirit of the law and not begrudgingly as if it were a newly imposed fiat of a

presidium.” Hodgson, 455 F.2d at 826 (citation and internal quotation marks omitted). What could

be more important than “effectuating” the government’s “general compliance” with this nation’s

Constitution?

       Similarly, in Louisiana v. Becerra, 20 F.4th 260 (5th Cir. 2021), the Fifth Circuit again

noted that a constitutional command for a consistent national policy may be an appropriate

consideration in crafting injunctive relief. That case did not invoke constitutional concerns, but

instead “the [HHS] Secretary’s decision to enter the vaccine regulatory space for the first time—a

novel assertion[] of authority” in which “[o]ther courts [were simultaneously] considering the[]

same issue[].” Louisiana, 20 F.4th at 262–64. Under those circumstances, the Court found that

there was no “constitutional command for a ‘uniform’” vaccine rule, warranting a nationwide

injunction. Id. In contrast, here, there is a firm and deeply-rooted constitutional command for a

consistent national policy of equal treatment. It is black letter law that the government must

consistently comply with the constitutional policy not to discriminate on the basis of race. The

Court “is vested with broad discretionary power,” Lemon, 411 U.S. at 200, and the issuance of a

broad injunction under these circumstances of a facially unconstitutional statute is reinforced by

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Fifth Circuit and Supreme Court precedent. Ultima, 2023 WL 4633481 at *18 (declaring a similar

racial presumption unconstitutional in violation of the Fifth Amendment and issuing a nationwide

injunction, preventing Defendants from using the presumption in program administration).

       Plaintiffs have also asked this Court to enjoin Defendants’ use of the term “minority” to

advertise the agency and its Programming. ECF 37. The MBDA Statute’s racial eligibility

requirements for “minority business enterprises” are implemented through the agency’s

designation as the “Minority Business Development Agency,” 15 U.S.C. §§ 9501(1) (9), (15),

9502(a), and permeate the entirety of available Programming under the statute without

constitutional justification. Consequently, the term “minority,” as used in the designation of the

agency as the “Minority Business Development Agency,” is based in the MBDA Statute’s

definitions and structure and directly implements the statute’s preference for the designated racial

minority groups. See 15 U.S.C. §§ 9501–9598 (employing the term “minority” countless times).

       Moreover, there can be no doubt as to the meaning Defendants have accorded to that term.

For the past two years following the enactment of the MBDA Statute, Defendants have committed

the MBDA’s nationwide focus entirely to the designated racial minorities—“widely publiciz[ing]”

an exclusive listing of preferred racial and ethnic groups on its websites and through various other

means of information dissemination. See, e.g., ECF 39:53–54 (attesting that Defendants

disseminate Program information through various methods, ranging from targeted efforts to

broadcasting through various social media); 15 U.S.C. §§ 9501(15)(B), 9522, 9523(b), 9551(3),

9552(b)(1), 9502(d)–(e), 9526, 9511, 9512.

       Indeed, MBDA websites across the country have reflected exactly who the MBDA serves,

and consequently, which racial groups the agency does not serve. The MBDA’s central website

has stated: “Our clients are U.S. minority business enterprises (MBEs) owned and operated by

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African Americans, Asian Americans, Hasidic Jews, Hispanic Americans, Native Americans, and

Pacific Islanders.” ECF 47:34–35 (MBDA website current to Aug. 17, 2023). And MBDA

websites throughout the country have reflected identical statements, and still do. 13 The MBDA has

presented its exclusive racial listing with no alternative path to eligibility; and Plaintiffs were, in

turn, presented with this outright exclusion. Contrary to Defendants’ contentions about the MBDA

Statute’s otherwise race-neutrality, considering the statute’s terms for “social or economic

disadvantage,” the reality is that Defendants have not ascribed any race-neutrality to the MBDA

Statute—nothing in any of the agency’s public communications that Plaintiffs have ever

encountered makes any mention to anything race-neutral within the scope of the MBDA,

“disadvantage” or otherwise.

        There can be no doubt that an unjustified federal statute dedicated, named, and enforced as

the “Caucasian Business Development Agency” would be immediately struck down because,

when a racial preference is patently unconstitutional, so is such a designation in which an agency

has held itself out upon. Is America really to believe, and more importantly to understand, that

now, after two years of public dedication and information dissemination regarding which racial

groups the MBDA serves (and those it does not), the term “minority” has some other meaning?

        Defendants only prove the point that something is awry when they have to make a policy

update to MBDA offices nationwide to explain that the term “minority” does not say what it means,




   13
       See, e.g., Dallas Fort Worth MBDA website, Services, https://www.mbdadfw.com/services; New
Mexico MBDA website, About Us, https://www.nmmbda.com/about-us; Orlando MBDA website,
Services, https://orlandombdacenter.com/services/; Illinois MBDA website, https://strategic
exceptions.com/illinois-mbda/ (each, last visited Nov. 28, 2023).




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and what it has meant. Likewise, as explained previously, Defendants’ eleventh hour “guidance”—

issued on October 23, 2023, at two years post-enactment of the MBDA Statute, following this

lawsuit challenging the statute’s racial classifications, and only days before dispositive motions

are due—solves nothing because it continues to elevate certain racial groups over others, imposing

burdens and benefits unequally on the basis of race. ECF 39:129–30. 14 The MBDA Statute is

dedicated to a race-based mission, and Defendants have hung a sign “No Whites” or any other

disfavored race allowed (and even if allowed, begrudgingly allowed, and not preferred). 15 Indeed,

following Defendants’ claimed agreement to instruct MBDA offices to implement this Court’s

preliminary injunction, Piper still has not been able to apply for Programming at the Wisconsin

MBDA without encountering a race-based inquiry. See ECF 44:42–43. “It is obvious that the “M”

in “MBDA” truly means that the MBDA prefers particular “minorities” on the basis of race.” ECF

39:10 ¶ 47. That sign must now come down.



    14
       Following Defendants’ late October policy update, the MBDA’s central website was updated to state:
“Our clients are U.S. minority business enterprises (MBEs) as defined in the MBDA Act. This includes
businesses owned and operated by socially or economically disadvantaged individuals, including African
Americans, Asian Americans, Hasidic Jews, Hispanic Americans, Native Americans, and Pacific
Islanders.” ECF 47:38 (MBDA website as of Nov. 1, 2023); MBDA website, Who We Are,
https://www.mbda.gov/who-we-are/overview (last visited Nov. 28, 2023). And while these efforts, of
course, fail to cure the constitutional defects at issue, Defendants do not even pretend to explain these efforts
to the public in a manner inviting, equally, business owners of all races to apply. That is because the agency
must keep with its name and dedication to “minorities.”
    15
       Defendants argue that this Court should “sever” the MBDA Statute’s unconstitutional provisions
pursuant to the statute’s severability clause. ECF 46:84–86. But given the context here and the meanings
ascribed to the term “minority,” it cannot truly be said that MBDA Statute “Operates Independently of the
Racial/Ethnic Presumptions.” Id. The agency, has been purposed for a race-based mission, down to its very
name. This Court would have to re-write the entire statute to excise the taint of the racially discriminatory
mission and purpose of this agency. See also Heckler, 465 U.S. at 738 (“a court sustaining such a claim
faces ‘two remedial alternatives: [it] may either declare [the statute] a nullity and order that its benefits not
extend to the class that the legislature intended to benefit, or it may extend the coverage of the statute to
include those who are aggrieved by the exclusion.’”) (citation omitted).

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        B.      The APA vests this Court with broad authority to set aside the
                unconstitutional MBDA implementing regulations.

        As Plaintiffs have explained, the APA provides a separate but additional tool for addressing

the unconstitutional MBDA implementing regulations and contemplates nationwide relief from

invalid agency action. Defendants have not disputed this Court’s authority to set aside

unconstitutional regulations. That is because there is no answer that refutes this Court’s plenary

power and duty to take such action. The case law on this is clear and abundant. See ECF 38:54–55

(collecting cases). In sum, pursuant to APA section 706(2), if an agency action is unconstitutional,

a court “must overturn the action.” Texas v. EPA, 829 F.3d 405, 426 (5th Cir. 2016); 5 U.S.C. §

706(2)(B) (“[T]he reviewing court shall … hold unlawful and set aside agency action, findings,

and conclusions found to be … contrary to constitutional right.”) (parenthetical emphasis added).

See also Griffin v. HM Florida-ORL, LLC, 601 U.S. __, No. 23A366 p. 3, n. 1 (Nov. 16, 2023)

(Statement of J. Kavanaugh) (“courts do hold the power to” “act directly against the challenged

agency action,” “strike [it] down,” and “treat[] [it] as though it had never happened.”) (emphasis

in original) (citation omitted).

                                         CONCLUSION

        For the foregoing reasons and those stated in Plaintiffs’ opening summary judgment brief

and response brief to Defendants’ motion for summary judgment, as well as Plaintiffs’ preliminary

injunction briefings, Plaintiffs respectfully request this Court to grant Plaintiffs’ motion for

summary judgment.




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       Dated December 1, 2023

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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 1, 2023, a copy of the foregoing was filed electronically

with the Clerk of the Court using the CM/ECF system, sending notice to all attorneys of record.

                                            s/ Cara Tolliver
                                            Cara Tolliver




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